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Figure 109 ROV C-Innovation video footage of the failed attempt to cut the
Autoshear hydraulic plunger at 23:30 on April 21, 2010

The first attempt to close the BSRs by hot stabbing was performed by C-Innovation at
approximately 01:15 hours on April 22, 2010. The ROV was unable to generate pressure
using the on-board hydraulic pump. Figure 110 shows two images captured of the failed
attempt. C-Innovation then successfully severed various rigid piping and the PBOF cable
between the subsea transducer module (STM) and SEMs on the Control Pods. Figure 111
shows images of the severing of the PBOF cables. .

Figure 110 ROV C-Innovation video footage of the failed attempt to raise pressure
during hot stab of the blind shear ram at 01:15 on April 22, 2010

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Figure 111 ROV C-Innovation video footage of the successful attempt to sever the
PBOF cables 02:45 on April 22, 2010. The severed cable is highlighted with a yellow
dashed circle.

The Autoshear hydraulic plunger was successfully cut using a circular saw by
Millennium 37 at approximately 07:30 hours on April 22, 2010. Figure 112 shows
images of the successful cut. Movement of the plunger (captured by the ROV footage)
indicated that the Autoshear sequence was initiated.

Following the Autoshear hydraulic plunger cut, the ROV performed an inspection of the
BOP stack. The inspection of the “LATCH/UNLATCH” indicator demonstrated that the
LMRP had not unlatched (see Figure 113 and Figure 114).

Figure 112 ROV Millennium 37 video footage of the successful attempt to cut the
Autoshear hydraulic plunger at 07:30 on April 22, 2010

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Figure 113 ROV Millennium 37 video footage of the LMRP/BOP stack connection
shortly after cutting of the Autoshear hydraulic plunger at 07:30 on April 22, 2010

Figure 114 ROV Millennium 37 video footage of the LMRP “LATCH/UNLATCH”
indicator shortly after cutting of the Autoshear hydraulic plunger at 07:30 on April
22, 2010

Millennium 36 made another unsuccessful attempt to hot stab into the BSR close port on
the ROV panel at approximately 08:00 hours on April 22, 2010. The ROV was unable to
generate pressure. Figure 115 is an image of the failed attempt. The ROV was pulled

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back as the Deepwater Horizon sank. Figure 116 shows images of the LMRP Flex Joint
before and after the riser kinked on April 22, 2010.

Figure 115 ROV Millennium 36 video footage of the failed attempt to raise pressure
during hot stab of the blind shear ram at 08:00 on April 22, 2010

Figure 116 ROV Millennium 36 video footage of the LMRP Flex Joint before and
after the kinking of the riser at 10:22 on April 22, 2010

Millennium 37 made two more attempts to hot stab the BSR close port on the ROV
panel, at 10:45 and 21:45 hours on April 26, 2010. During both attempts the pressure was
generated to over 4,000 psig, but could not be maintained. Figure 117 and Figure 118
show ROV images of the two attempts. The loss of pressure was attributed to leaks in the

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ROV panel fittings, which were monitored and repaired before any further hot stabbing
attempts.

Figure 117 ROV Millennium 37 video footage of a successful attempt to raise
pressure during the hot stab of the blind shear ram at 10:45 on April 26, 2010

Figure 118 ROV Millennium 37 video footage of a successful attempt to raise
pressure during the hot stab of the blind shear ram at 21:45 on April 26, 2010

Millennium 37 and Millennium 36 made two more attempts to hot stab the BSR close
port on the ROV panel, at 03:15 on April 26, 2010 and 21:30 hours on April 29, 2010,
respectively. During both attempts the pressure increased rapidly to over 5,000 psig, and
was maintained. The maintained pressure indicated the leaks in the ROV panel had been
successfully repaired.

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Figure 119 ROV Millennium 37 video footage of a successful attempt to maintain
pressure during hot stab of the blind shear ram at 3:15 on April 27, 2010

Figure 120 ROV Millennium 36 video footage of a successful attempt to maintain
pressure during the hot stab of the blind shear ram at 21:30 on April 29, 2010

6.4.2 Repair Efforts

Leaks were identified in the hydraulic circuits while hot stabbing the BSRs. ROVs
worked in tandem to identify leaks in the various components. One ROV would hot stab
at the ROV panel, while another ROV monitored hoses and connections for leakage.
Leaks were highlighted by injecting green dye into the hydraulic fluid prior to hot
stabbing.

Intervention efforts related to the closing of the blind shear rams are shown in Figure 121
and Figure 122. Leaks were repaired by ROV using hand tools. Figure 123 and Figure

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124 show images of the inspection and repair to the ST Lock shuttle valve above the
starboard side of the BSRs. Leaks were also identified in the fittings behind the port side
ST Lock (see Figure 125).

Figure 121 ROV Millennium 37 video footage of an inspection of a fitting on the
blind shear ram at 08:15 on April 22, 2010

Figure 122 ROV Millennium 37 video footage of a repair to a fitting on the blind
shear ram at 08:20 on April 22, 2010

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Figure 123 ROV Millennium 37 video footage of an inspection of the ST lock shuttle
valve on the blind shear ram at 22:20 on April 25, 2010

Figure 124 ROV Millennium 37 video footage of a repair of the ST lock shuttle
valve on the blind shear ram at 5:45 on April 26, 2010

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Figure 125 ROV Millennium 36 video footage of a leak in the fittings behind the
right side ST Lock on the blind shear rams

6.5 Modeling

Based on the examination of the damage to the BSR blocks and the drill pipe segments,
the position of the drill pipe at the time of cutting by the BSR was not at the center of the
wellbore. The evidence from the markings on the drill pipe indicated that the drill pipe
was at the side of the wellbore. To explain the position of the drill pipe within the
wellbore at the time of the BSR activation, buckling of the drill pipe within the well-bore
between the UA and the Upper VBR was examined. The modeling described below was
performed for different combinations of annular preventers and VBRs with only minor
variations in results. ‘

The scenario in which forces developed to produce buckling is discussed here. The UA
was closed with either the tool joint directly below the element or with the element
closing on the top portion of the tool joint (see erosion pattems on the tool joint in Figure
126). The closing force of the UA element restricted the drill pipe from upward
movement, Upon closing the Upper VBR, the wellbore flow was directed only through
the drill pipe, resulting in the pressure within the drill pipe rapidly increasing. The
pressure increase produced an upward force (axial compression load pinned at the UA)
on the drill pipe. This upward force provided the forces necessary for the drill pipe to
elastically buckle, forcing the drill pipe to the side of the wellbore.

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Figure 126 Laser Scan of Drill Pipe Segment 1-B-1 (Top End)

6.5.1 Buckling Model

Elastic buckling is characterized by a sudden instability of a structure subject to lateral
loads or axial compressive loads. In the case of an axially loaded drill pipe, this
instability would result in lateral displacement of the pipe within the wellbore. Finite
element analysis (FEA) was performed to examine the possibility and effects of elastic
buckling of the drill pipe within the wellbore between the UA and the Upper VBR.

Finite element modeling of a buckling event is typically handled as a two part analysis.
An initial buckling analysis was run to calculate the critical buckling loads and predict
the locations and manner that a structure will fail, and a post-buckling analysis was then
run to calculate the pipe deformation response after the buckle initiates. For this model a
linear eigenvalue buckling analysis was utilized to calculate the likely buckling modes
and their corresponding critical loads.

The eigenvalue method is a numerical modeling technique to calculate the critical
buckling loads of a given structure. For a drill pipe under axial load there are numerous
ways in which the drill pipe can buckle (known as buckling modes). The buckling modes
are affected by the loading conditions and sensitive to any stiffening elements in the
structure. The tool joint and drill pipe were modeled in their entirety for the segment
between the UA and the Upper VBR.

A three dimensional solid model was developed that included a drill pipe segment
(including tool joint) that spanned from the UA down to the Upper VBR, the BSR cavity,
and a section of the BOP wellbore, as shown in Figure 127. The drill pipe segment was
modeled using the nominal geometry specified in API Specification 5D and API

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Specification 7. The wellbore and the BSR cavity were modeled to simulate the
displacement restrictions of the drill pipe within the wellbore.

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Figure 127 General Layout of Drill Pipe and Wellbore Section

BSR Upper
Cavity VBR

The final drill pipe geometry was modeled with refined mesh of 27,520 elements,
connected by 41,400 nodes. The elements used to construct the model were three-
dimensional 8-noded hexahedral solid elements. Elements of this type and refinement
ensured adequate mesh definition and solution accuracy. The wellbore and BSR cavity
were modeled with rigid shell elements. These elements provided contact and
displacement control. Elastic material properties were applied to the elements defining
the behavior of the drill pipe using results from the mechanical testing (Section 6.2.8.4).

Boundary conditions were applied representing the constraints at the UA and the Upper
VBR. An eigenvalue buckling analysis was then run to predict the buckling modes and
calculate their respective critical loads. Critical loads were calculated by applying
incremental axial loads to the bottom of the drill pipe until the point of instability was
reached. The predicted buckling mode data was then utilized as input for the post-
buckling deformation analysis.

The axial load components were added in a static Rik’s type analysis to approximate the
post-buckling deformation of the drill pipe. Rik’s method is capable of varying the
applied load components as the pipe deforms allowing the analysis to account for the
non-linear effects expected as buckling progresses.

The models were solved using ABAQUS™ Standard. The initial buckling analysis
predicted a single waveform buckling mode, at a critical axial load of 113,568 lbs. The
predicted deformation and resulting stresses are shown in Figure 128 and Figure 129, and
the calculated loads are given in Figure 130. The predicted deformation showed the peak
curvature of the buckle would contact the wellbore above the BSR cavity, holding the
pipe against the side of the wellbore.

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Figure 129 Predicted Deformation and Resulting Stresses Due to Buckling

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o os 1 16 2 25 3 3.6 4 45 5 65 6 6.5 7
Displacement (in.}

Figure 130 Calculated Loads as a Function of Drill Pipe Displacement

6.5.2 Buckling Considerations

It has been shown by finite element analysis (Section 6.5.1} that a compressive axial load
of 113,568 lb on the drill pipe was necessary to cause buckling. The finite element
analysis accounted for the specific geometry of the drill-pipe, tool joint and rams.

This result was validated by calculations based on Euler’s equation. The drill pipe was
assumed to be fully restricted from upward movement at the closed UA due to a tool joint
positioned just below. At the upper VBR, the drill pipe was assumed to be fixed in the
radial direction by the rams but unrestricted in the vertical direction (i.e. allowed to
slide).

A compressive axial force that led to buckling of the drill pipe at the time the BSR was
activated was the result of a combination of several components. These force components
depend on the reservoir pressure, the fluid media in the drill pipe, the flow in the drill
pipe, the friction between the fluid media and drill pipe and other factors.

The axial compressive force on the drill pipe that can cause buckling has a number of
components including but not limited to:

e Upward friction force from the flow inside the drill pipe

¢ Upward buoyancy force on the drill pipe

¢ Upward force from reservoir pressure in excess of buoyancy acting on drill pipe
e Downward gravity force on the drill pipe

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e Downward friction force on the outside of the drill pipe from seal at the VBR

Based on conditions likely present in the wellbore at the time of the incident, calculations
indicate that the force needed to buckle the drill pipe was present. Detailed numerical
simulations were not performed as part of this investigation.

6.5.3 Cutting of the Drill Pipe in the Blind Shear Ram

Physical evidence on the recovered drill pipe segments indicates that the drill pipe was
not centered in the wellbore when the BSR was activated. Indications on drill pipe
segment ends 94-B and 83-B were matched to the outer corners of the upper BSR block
as discussed in (Section 6.2.4.2). These indications were aligned with the upper BSR
block features to determine the position of the drill pipe. Figure 131 shows a comparison
of the aligned pipe segments with the predicted drill pipe position from the buckling
analysis.

eg

Figure 131 Alignment of Pipe $
Comparison

The BSR blades are designed with a face rake angle intended to impart tension on the
drill pipe as the blades shear through it. Multiple numerical equations exist for
approximating the shear forces necessary to shear drill pipe, however these only consider
situations where the pipe is completely within the shearing blade surfaces of the BSR. A
finite element analysis (FEA) was performed to simulate the effects of a non-centered
drill pipe on the ability of the BSR to cut the drill pipe and seal the well.

Fracture of a ductile material is governed by two key mechanisms: ductile fracture due to
the nucleation, growth, and coalescence of voids (ductile damage) and shear fracture due
to shear band localization (shear damage).° These two mechanisms call for different

® ABAQUS Analysis User's Manual, “21.2.2 Damage Initiation Criteria for Fracture of Metals”; (C) Dassault
Systemes, 2010.

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forms of the criteria for the onset of damage. FEA using Abaqus offers several
mechanisms to accurately model material damage. For this analysis, ductile damage
initiation was specified using the Johnson-Cook damage model and published damage
parameters for 4340 steel. The shear damage initiation was specified using shear criterion
model within Abaqus and published damage parameters. This allowed for the model to
consider material failure by ductile damage, shear damage, or a combination thereof.

Validation models were run to determine the forces necessary to cut the drill pipe when it
is within the cutting blade surfaces (centered in the wellbore as illustrated in Figure 132).
A three dimensional shell model was developed representing the BSR blades, block
faces, and a section of 5.5 inch diameter drill pipe as shown in Figure 133. The final
geometry was modeled with 20,030 elements connected by 20,183 Nodes. The blade
surface models were developed from CAD models of the BSR provided by Cameron. The
drill pipe was modeled with shell elements and a specified thickness of 0.386 inches, per
measurements of pipe section 83-Q. The ram faces were modeled with rigid shell
elements as they were assumed stiff relative to the deformable drill pipe. Elastic and
plastic material properties were applied to the model defining the behavior of the drill
pipe as determined by mechanical testing.

Figure 132 BSR Configuration

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Figure 133 FEA Model of BSR Blade Surfaces and Drill Pipe

A second model was developed to analyze the effects of the drill pipe being off center in
the wellbore (displaced to the far side of the wellbore as illustrated in Figure 134). The
upper BSR block had a single “V” blade design, intended to create a progressive shear,
thereby reducing the necessary cutting force. As shown in Figure 132, the upper BSR
blade does not extend fully across the wellbore. The lateral forces due to buckling would
likely have kept the drill pipe off center in the position illustrated in Figure 134.

Figure 134 FEA Model of BSR Blade Surfaces and Off-Center Drill Pipe

The dynamic pipe shear models were solved using Abaqus Explicit. The progression of
the shear cut for the model with centered drill pipe is shown in Figure 135 and Figure
136. The drill pipe was deformed initially (Frames 2 and 4). Frame 7 shows the step
where the blade began to shear and penetrate the drill pipe. This was the point of highest
calculated shear force (RFmax). As the shearing progressed and the drill pipe separated,

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the required force decreased (Frame 8). After full separation, the rams deformed the pipe
and folded over the lower sheared section (Frames 10 and 12). Figure 137 shows a BSR
cut from Cameron Engineering Report 2613 with a very similar appearance as predicted

by the FEA model.

Le Frame 3
RF uy ay=179,330 Ib,

ne

Frame 10
RF ys. =1 39,168 Ib,

sets
Frame 12
RP. y=75,546 tb,

Figure 135 Progression of Centered BSR Shear Model - Side View

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Frame 2 hoes Frame 4 te Frame 7
RF weay= 102,600 ib, ~ RF yay=257,520 ib, RF weaye=O? 3,018 Ib,

ie Frame 8 Le Frame 16 ee Frame 12
RE a2 179.930 tb, _ RP gyp= 139,158 80, RF w...77'5,536 ib,

Figure 136 Progression of Centered BSR Shear Model - Isometric View

|
(a) Lower pipe with upper BSR block (b) Lower pipe with lower BSR block

Figure 137 Photographs of BSR Shear Samples.’

The model with centered drill pipe calculated a maximum required shear force of 373,01 8
Ibs. Table 2 of Cameron Engineering Bulletin EB-702D provided the effective piston
area for the BSR configuration (238 in’). The model-derived shear force, when divided

? Cameron Engineering Report 2613, Mach 3, 1999, 2"4 Shear Test, Photo 8 and 9 of 16, p.22.

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by this effective piston area, equated to a maximum ram pressure of 2,408 psig. The FEA
results were compared with shearing pressure results derived from methods proposed by
Transocean®, West Engineering’, and Cameron'”. The Transocean and West Engineering
calculations were based on a modified distortion energy theory equation, while Cameron
used an empirical formula developed from extensive testing. The calculated results for
the given conditions are given in Table 30. The FEA model results showed good
agreement with the calculated shear pressures.

Table 30 Comparison of Calculated BSR Pressures

Calculation Method Calculated Shear Force | Shear Pressure
(Ibf;) (psi)
Transocean® 2,378
West Engineering” 504,805 2,121
Cameron” 3,008
FEA Model 573,018 2,408

The BSR is designed to fold the end of the lower pipe segment over to prevent damage to
the lateral sealing element behind the upper blade as it passes across. Testing has shown
that the lower piece can fracture at the fold point (Figure 137). The centered pipe shear
analysis calculated a strain concentration of 32% along the inner bend as seen in Figure
138, matching with the fracture area observed on physical tests.

® TRN-USCG_MMS-00038805 Shear Pressure.xls.
° West Engineering Report: Shear Ram Capabilities Study; Req. 3-4025-1001 for U.S. MM&, Sept. 2004.
1° ED-702 CAMCG 00003247 Page 5 - Table 2.

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Figure 138 Final Deformed Configuration of Shear Cut Showing Strain
Concentration at Inner Bend

The progression of the shear cut for the model with off-centered drill pipe is shown in
Figure 139 and Figure 140. With the pipe displaced to the side of the wellbore, the corner
of the upper blade made the initial contact with the drill pipe (Frame 2). In Frame 4, the
comer of the upper blade has pierced the drill pipe and shearing has initiated. As part of
the pipe is outside of the upper BSR blade surface, only 2/3 of the pipe is actually being
sheared (Frame 7). Due to the earlier shear initiation at the blade point, and the fact that
less of the pipe was sheared, the calculated shearing forces were less than those
calculated for the centered pipe model. The remainder of the pipe was deformed outside
of the upper blade surface (Frames 8, 10, and 11). This deformed portion was pinched
and deformed between opposing side packers (Frames 10 and 11, and Figure 141).

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Figure 139 Progression of Off Center BSR Shear Model - Side View

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RE yey 211,059 tb, RE 1 .,2398,532 tb, RE yey = 1.017.040 tb,

Figure 140 Progression of Off-Center BSR Shear Model - Isometric View

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t., Initial Configuration t.. Frame &

Figure 141 Top View Showing Deformation of Drill Pipe Outside of Shearing Blade
Surfaces

The final deformed configuration of the drill pipe on the upper BSR block is shown in
Figure 142 through Figure 144. The comparison between the aligned laser scanned
sections with the final configuration predicted by the FEA model showed good
agreement. The final deformed configuration of the drill pipe is given in Figure 145. Note
that the ram block indentations on both the upper and lower segments of drill pipe were
present and agreed with the recovered evidence. The fold over on the recovered lower
pipe section was missing. This portion was removed from the center image in Figure 145
for visual comparison with 83-B and 94-B.

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Figure 142 Final Deformed Configuration of Shear Cut Showing Strain
Concentration at Inner Bend

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Figure 143 Final Deformation of the Drill Pipe as Predicted by the Off-Centered
Pipe Model; Upper BSR Block Shown on the Right

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Comparison of Recovered Drill Pipe Segments and Final Model

Figure 144

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Figure 145 Final Model Deformation Compared with Recovered Drill Pipe Laser
Scans - 83-B and 94-B

The shear model with off-centered drill pipe showed that the required shear force
(RFyax) increased as the pipe was pressed between the flat outer faces of the ram blocks.
A maximum shear force for the off-centered pipe analysis was calculated as 1,017,040
Ibs, which is equivalent to 4,273 psi for this BSR design. Based on this analysis, the BSR
would likely stall at this point, if not prior to this, as the required pressure exceeded the
available hydraulic system pressure (regulated to 4,000 psig).

With the drill pipe collapsed between the ram faces, the upper and lower BSR blocks
were 2 inches from being fully closed (Figure 146). The side packers were | inch from
making initial contact and sealing.

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Figure 146 Spacing of Upper and Lower BSR Blocks in Partially Closed Position

Further investigation was performed using the laser scanned models. The models of the
upper and lower BSR blocks, and drill pipe segment 94 were assembled with segment 94
contacting the upper block (deformation features aligned - Figure 147). With the blocks

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spaced 2 inches from fully closed, the lower block fit against segment 94. Figure 148
shows the BSR CAD models (side packers removed) in the same configuration and
demonstrates that the lower BSR blade was 1.4 inches from contacting the rear packers
and sealing.

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speed

Between Block

Figure 148 BSR CAD Models - 2 Inch Standoff Between Blocks

With the VBRs closed below the BSR, well flow was diverted through the inside of the
drill pipe. After the BSR was activated and closed on the off-center drill pipe, the well
flow was concentrated through the partially sheared drill pipe on the kill side of the BSR.
The kill side of the blocks and wellbore experienced the most erosion damage. This
concentrated flow condition remained until the CSRs were activated (April 29, 2010)
shearing the drill pipe. This created a new flow condition that was no longer concentrated

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on the kill side of the BSR. Flow then exited the cut drill pipe below the CSR and
impinged upon the bottom of the CSR blocks (evidenced by erosion pattern on recovered
blocks). The CSR was intended only to cut tubulars. It was not designed to seal the
wellbore. Without a sealing mechanism in the CSRs, flow traveled around the CSR
blocks and continued up the entire wellbore cross-section below the BSRs. Without
contact between the lower blade and rear packer (forming a seal), flow occurred across
the entire face of the blocks. This flow condition existed from April 29, 2010, until the
well was brought under control.

Figure 149 shows the open cavity through the upper BSR block above the cut lower drill
pipe segment. The image on the right shows the scan of the erosion in the wellbore along
the kill side of the BSRs.

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Note the image on the left is viewed from the kill side, while the image on the right is facing the kill side of
the wellbore.

Figure 149 Erosion Damage - BSR Blocks and Wellbore

6.6 Failure Cause Analysis

Failure cause analysis was organized and conducted around a single top event and a
secondary chain of events. For the purposes of this investigation the top event was
defined as the failure of the BSRs to close and seal the well and the secondary chain was
defined as the events responsible for the condition and location of the recovered drill pipe
segments.

A fault tree was developed for the top event (Appendix G). Six different means were
identified for initiating closure of the BSRs:

Manual function via surface control through BSR Close
Manual function via surface control through HP Shear Close
Manual function via surface control of EDS

Automated function via AMF/Deadman

Manual initiation of Autoshear

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* Manual function subsea via ROV
There were functions/components common to all six means:

¢ Port and starboard BSR hydraulic actuators (operators) on the BOP
e Port and starboard BSR Close shuttle valves
e Hydraulic lines

Testing of these components determined that they functioned as intended in the as-
received condition. No further failure cause analysis was performed.

Manual function via surface control through BSR close is achieved through the activation
of solenoid 66B/Y. However, the high-pressure BSR close function is achieved through
solenoid 103 B/Y. High pressure close, EDS and AMF/Deadman all activate through the
operation of solenoid 103B/Y. Specifics on solenoid 103 are discussed later in this
section.

HP Shear Close, EDS, AMF/Deadman and Autoshear have a common reliance on the
accumulator bottles (8 x 80 gallon) located on the BOP. Testing of these accumulators
determined that they functioned as intended in the as-received condition. The analysis of
the hydraulic fluid collected from the port side close operator of the BSR indicated the
fluid was of a composition very similar in characteristics to the samples of Stack Guard
and Aqualink provided by the manufacturer. This was the fluid that resided in the BOP
accumulators at the time of the incident. This if further indication the BSR’s were
activated either by the Authoshear or possibly the AMF/Deadman functions. No further
failure cause analysis was performed.

Each of these means are examined and discussed in further detail in the following
sections.

6.6.1 Manual Function Blind Shear Ram Close and High Pressure
Shear Close

Both of these manual functions required deliberate selection using a control interface on
the Deepwater Horizon. Eyewitness accounts of the activities carried out during the loss
of well control do not record any action carried out to close the BSRs independently
using either the BSR Close function or the HP Shear Close function on the control
interfaces from the rig. It was ruled as unlikely that either of these functions could have
been accidentally pressed (instead of another intended function such as EDS) based on
proximity to other functions on the control panel layouts. There was no evidence to
support either of these means as possible. No further failure cause analysis was
performed.

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6.6.2 Manual Function of Emergency Disconnect Sequence

Eyewitness accounts record that the EDS function was initiated from the bridge of the
Deepwater Horizon just before 21:56 on April 20, 2010. The initiation occurred
approximately seven minutes after the first recorded explosion and power loss. There are
no corroborative eyewitness accounts regarding the status of the lights on the control
panel. There is an account of lights flashing, indicating that the EDS function had
initiated. There are no accounts of any specific lights going steady, which would have
indicated a function had been completed and confirmed by the subsea control pods. The
EDS function has two separate command sequences: (1} Blind Shear Ram Close, and (2)
Casing Shear Ram Close. The latter sequence is used when casing is being run into the
hole; otherwise the Blind Shear Ram Close is used as the default sequence. By design,
the Blind Shear Ram Close sequence should have been completed within 25 seconds.
Reviewed ROV video indicated no evidence that the sequence had initiated, the LMRP
remained latched to the BOP, the Blue and Yellow Control Pod stingers were not
retracted. Evidence supports that the EDS function was initiated but not successfully
completed. Evidence indicates that the most probable reason for this failure was damage
and loss of MUX communication to the BOP Stack due to and immediately after the first
recorded explosion and loss of rig power. No further failure cause analysis was
performed.

6.6.3 Automated Mode Function/Deadman

The AMF/Deadman sequence was designed to initiate from the control pods if electrical
power, fiber-optic communication and hydraulic pressure to the control pods from the
surface were lost. Regardless of which control pod was active or being used to control the
BOP Stack, both the Yellow and Biue Control Pods continuously monitored the status of
the power, communication and pressure. Both control pods communicated with each
other regarding this status. One control pod had command (active) of the BOP Stack and
monitored communication from the surface. The other control pod was on standby but it
monitored communications from the active control pod. In the case of loss of all three
inputs (power, communication and hydraulic pressure), both control pods required
agreement on status in order to initiate the sequence. The AMF/Deadman sequence was
required to be armed (command given after BOP Stack was installed) in order to
function. At the time of the loss of well control, the Blue Control Pod was in command of
the BOP stack.

Two scenarios were analyzed for the AMF/Deadman sequence: initiation after power,
communication and hydraulic pressure loss caused by catastrophic failure at the surface,
and initiation after ROV intervention.

As previously discussed in Section 6.6.2, evidence indicates that MUX cable
transmission (power and communication) was lost due to and immediately after the first
recorded explosion and loss of rig power. ROV intervention was completed at 02:45 on
April 22, 2010 to remove hydraulic pressure by cutting the pilot lines from the rigid

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conduit manifold on the LMRP to both control pods and cutting the PBOF cables from
the STM to the SEMs on both control pods, This intervention satisfied the three
necessary conditions (power, communication and hydraulic pressure loss) for
AMF/Deadman initiation.

Testing of the AMF/Deadman indicated the hydraulic circuit portion of the system
functioned as intended. Testing of the original Solenoid 103Y yielded inconsistent
results. Testing on the Blue Control Pod 27V battery bank indicated a low voltage that
was incapable of actuating Solenoid 103B and therefore incapable of completing the
AMEF/Deadman sequence.

Evidence indicates that conditions necessary for AMF/Deadman (loss of power,
communication and hydraulic pressure) existed immediately following the first
explosion/loss of rig power and prior to ROV intervention. The function testing
demonstrated that the AMF circuits within both the Blue and Yellow Control Pod SEMs
activated when the loss conditions were simulated. Function testing on the Blue Control
Pod proved that the 27V battery bank in the as-received condition could not carry the
initiation from the AMF circuit in the SEM to compietion. The function testing of the
Yellow Control Pod circuits demonstrated that when both coils of original Solenoid 103Y
were energized simultaneously, the solenoid functioned as intended. When only one coil
was energized, the results were inconsistent.

While the conditions necessary for AMF/Deadman existed immediately following the
first explosion/loss of rig power, because of the inconsistent behavior of original
Solenoid 103Y and the state of the 27V battery bank on the Blue Controi Pod, it is at best
questionable whether the sequence was completed.

6.6.4 Autoshear

Autoshear is a hydro-mechanical system. Its functioning is not dependent on the state of
the Control Pods. Testing of the Autoshear indicated the hydraulic circuit portion of the
system functioned as intended. The Autoshear hydraulic plunger was successfully cut at
approximately 07:30 hours on April 22, 2010. Movement of the plunger (visible on ROV
footage) indicated that hydraulic pressure on the control valve was relieved allowing a
spring return to shifi the control valve, sending a pilot signal to open a high pressure.
shear control valve and send hydraulic supply from the high pressure shear circuit to the
closing ports of the BSRs. Testing of the system resulted in functioning as intended. The
evidence supports successful initiation of BSR close by Autoshear, if not previously by
AMF/Deadman.

6.6.5 Manual Function via Remotely Operated Vehicle

Testing of the ROV Panel BSR port confirmed the panel functioned as intended. At the
start of each test, connecting rod movement occurred at very low pressures for all three-

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flow rates. The pressure to the operators did not increase until the connecting rods had
fully extended (fully closed).

The first attempt to close the BSRs using the ROV panel hot stab occurred prior to the
successful cut of the Autoshear hydraulic plunger. The attempt was considered
unsuccessful due to inability to generate pressure. There were continued attempts to close
the BSRs following the initiation of Autoshear. The second attempt was similar to the
first attempt; unsuccessful due to inability to generate pressure. In two subsequent
attempts, pressure was generated to over 4,000 psig, but bled down due to leaks in the
hydraulic circuit. In two final attempts, pressure was rapidly generated to over 5,000 psig
and maintained.

The ability for the ROV to raise pressure to over 4,000 psig indicates that the reported
leaks would have had little or no effect on closing the BSRs. The rapid generation of over
5,000 psig (on April 27, 2010 and again on April 29, 2010) when compared with the
results from the function testing, indicated the BSRs were either fully closed or
obstructed from closing further. No further failure cause analysis was performed.

6.6.6 Recovered Drill Pipe Segments

The recovery and examination of cight drill pipe segments from the BOP, LMRP and
Riser was discussed in detail in Sections 6.1.4 and 6.2.3.

From the exercise to match segment ends it was determined that segments 1-B-1, 1-B-2,
84, and 83 (top to bottom) constituted a larger segment and segments 1-A-1 and 39 (top
to bottom) constituted another larger segment. Both were located side by side above the
UA when the riser kinking occurred. Segments 84 and 83 were nearly separated by the
ROV saw cut intervention. Segments 1-A-1 and 39 were separated by the ROV shear cut
intervention. Likewise, segments 1-B-2 and 84 were separated by the ROV shear cut.
Segments 1-B-1 and 39 were determined to be from the same joint of pipe based on the
presence of internal coating in both segments. Their separation was postulated to have
been tensile failure based on the fracture surface of 1-B-1-E. Both the BSR shear
(between segments 83 and 94) and the tensile failure above the tool joint (between
segments 1-B-1 and 39) occurred before the riser kinking.

Two events were considered that were capable of producing sufficient force to part
segments 1-B-1 and 39 in tension. The first event (chronologically) was the rig drift
which occurred on the morning of April 2], 2010. The second event was the sinking of
the Deepwater Horizon which occurred on the morning of April 22, 2010, and resulted in
the kinking of the riser. In both events the drill pipe is postulated to have been captured or
fixed at the drill floor. Tensile force was imparted to the drill pipe by the offset
movement of the rig.

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Segments 1-B-1, 1-B-2, 84, and 83 were measured, and their sum matched the distance
between the BSRs and the UA. This evidence supports that the too] joint was at the level
of the UA element prior to BSR closure.

In order to initiate tensile failure, the drill pipe was required to be captured or fixed at a
point below the failure. For the second event (rig sinking), the BSR cut had already
occurred. The fixed point was postulated to be the closed UA. For the first event (prior to
Autoshear initiation}, the BSR cut may not have occurred. Two fixed points were
possible, the closed UA and one or both closed VBRs (Middle and Upper). Evidence
indicates that the first event was the more likely source of tensile force required to part
the drill pipe above the tool joint (between segments 1-B-1 and 39). No further failure
cause analysis was performed.

Once the tensile failure between segments 1-B-1 and 39 had occurred, segments 1-B-1, 1-
B-2, 84, and 83 would have moved upward as one segment after BSR closure, propelled
by the force of the flowing well. It was postulated that the closed UA was unable to
restrain this larger segment from moving upward and clearing the UA. The deformation
on the bottom of segments 39 and 83 was postulated to have occurred when the riser
kinked and forced both segments down onto the top of the closed UA.

6.6.7 Other Considerations

On trying to pressurize various hydraulic circuits during the ROV interventions,
including those to the Blind Shear Rams, leaks were reported. Later interventions were
reported to have fixed those leaks. However, DNV’s review of the ROV videos raised
questions on whether the leaks were on circuits that functioned the BSRs. In the tests of
the hydraulic circuits performed at Michoud, other than the high-pressure casing shear
regulator, the high-pressure shear circuits did not leak. Initial visual examination of the
leak on the casing shear regulator led DNV to conclude that the conditions leading to the
leak most likely developed after the time of the incident. Further, later ROV hot stab
efforts were able to raise the pressure in one instance to 4,000 psig and then latterly to
over 5,000 psig on the high pressure shear circuits. It is DNV’s view that the evidence
indicates the reported leaks in the hydraulic circuits were not a contributor to the blind
shear rams being unable to close completely and seal the well.

In its review of various modifications made to the control logic or BOP stack, it is DNV’s
view that there is no evidence these modifications were a factor in the ability of the blind
shear rams being able to close fully and seal the well.

The various tests of the performance of the solenoid 103Y at Michoud removed from the
Yellow Pod in May 2010, gave inconsistent results when a single coil within the solenoid
was activated by the PETU. When the Yellow Control Pod was removed from the BOP
stack in May 2010 as part of the interventions a series of Factory Acceptance Tests
(FATs) were run on the Pod. As part of those investigations the various solenoids

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mounted on the Pod were tested and it was determined that solenoid 103Y did not
activate. The decision was taken on the Q-4000 to remove it and replace the solenoid
103Y with a new solenoid. The original solenoid 103Y was removed and taken into
evidence by the FBI Evidence Response Team and a new solenoid was mounted to the
Yellow Pod. The original solenoid was then sent to the NASA-Michoud facility for
secure storage. The bench tests and subsequent testing and activation of the solenoid at
Michoud yielded inconsistent results, as noted earlier. When both coils were activated, as
would be the case if the solenoid was activated by the AMF/Deadman circuits, the
solenoid functioned as intended. However, in other tests when only one of the two coils
of the solenoids was energized, the armature of the solenoid failed to activate. Two
possible scenarios present themselves for explaining the inconsistent performance of
solenoid 103Y. The first being the fact that the solenoid was removed in May 2010 and
was not tested until March 2011. As a result it is possible deposits of seawater or
hydraulic fluid built-up in the solenoid and were the cause of the inconsistent results.
The second scenario is the possibility of a manufacturing defect. On the evidence to date,
DNV is of the opinion that the explanation for the inconsistent results was due to the
build-up of deposits or other factors resulting from storage of the solenoid.

DNV did not identify any other issues or evidence that manufacturing defects of one form
or another contributed to the blind shear rams not closing completely and sealing the
well.

Tests at Michoud of the AMF/Deadman circuits demonstrated that the 27 Volt battery in
the Blue Pod had insufficient charge to activate solenoid 103B. Tests of the 27 Volt
battery in July when the Blue Pod was raised and examined on the Q-4000 reported the
battery level to be out of specification. There are indications that voltage, too, would have
been insufficient to activate solenoid 103B. A Factory Acceptance Test and
AME/Deadman test was performed on the Blue Pod in June 2009. There are no records
that the AMF/Deadman batteries were checked as part of this test. The review of
available records could not confirm the date when the Yellow Pod AMF/Deadman last
underwent a Factory Acceptance Test. To discern the state of the AMF/Deadman it is
necessary to undertake further examination, investigation and tests of the Subsea
Electronic Modules of both the Yellow and Blue Control Pods.

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7 CONCLUSIONS

7.1 The Accident

The Deepwater Horizon was a semi-submersible, dynamically positioned mobile offshore
drilling unit (MODU) that could operate in waters up to 8,000 feet deep and drill down to
a maximum depth of 30,000 feet. The rig was built in South Korea by Hyundai Heavy
Industries. The blowout preventer (BOP) Stack, built by Cameron, was in use on the
Deepwater Horizon since the commissioning of the rig in 2001.

The rig was owned by Transocean, operated under the Republic of the Marshall Islands
flag, and was under lease to BP from March 2008 to September 2013. At the time of the
incident, the rig was drilling an exploratory well at a water depth of approximately
5,000 feet in the Macondo Prospect. The well is located in the Mississippi Canyon Block
252 in the Gulf of Mexico.

On the evening of April 20, 2010 control of the welt was lost, allowing hydrocarbons to
enter the drilling riser and reach the Deepwater Horizon, resulting in explosions and
subsequent fires. The fires continued to burn for approximately 36 hours. The rig sank on
April 22, 2010. From shortly before the explosions until May 20, 2010, when all ROV
intervention ceased, several efforts were made to seal the well. The well was permanently
plugged with cement and “killed” on September 19, 2010.

7.2. What is Considered to have Happened

Prior to the loss of well control on the evening of April 20, 2010, the UA was closed as
part of a series of two negative or leak-off tests. Approximately 30 minutes after the
conclusion of the second leak-off (negative pressure) test, fluids from the well began
spilling onto the rig floor. At 21:47 the standpipe manifold pressure rapidly increased
from 1200 psig to 5730 psig. The first explosion was noted as having occurred at 21:49.
At 21:56 the EDS was noted to have been activated from the bridge. This was the final
recorded well control attempt from the surface before the rig was abandoned at 22:28.

The Upper VBRs were found in the closed position as-received at the Michoud facility.
There was no documented means of ROV intervention to close the Upper VBRs. ROV
gamma ray scans on May 10, 2010 confirmed that the ST Lock on the port side Upper
VBR was closed. Scans of the starboard side ST Lock on the Upper VBRs were
inconclusive. Measurements of the ST Lock positions performed at the Michoud facility
confirmed that both ST Locks on the Upper VBRs were closed. Evidence supports that
the Upper VBRs were closed prior to the EDS activation at 21:56 on April 20, 2010.

A drill pipe tool joint was located between the Upper Annular and the Upper VBRs. With
both the Upper Annular and the Upper VBRs closed on the drill pipe, forces from the

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flow of the well pushed the tool joint into the Upper Annular element. This created a
fixed point arresting further upward movement of the drill pipe. The drill pipe was then
fixed, but able to pivot at the Upper Annular, and horizontally constrained but able to
move vertically at the Upper VBRs. Forces from the flow of the well induced a buckling
condition on the portion of drill pipe between the Upper Annular and Upper VBRs. The
drill pipe deflected until it contacted the wellbore just above the BSRs. This condition
most likely would have occurred from the moment the well began flowing and would
have remained until either the end conditions changed (change in Upper Annular or
Upper VBR state) or the deflected drill pipe was physically altered (sheared). The portion
of the drill pipe located in the between the shearing blade surfaces of the BSRs was off
center and held in this position by buckling forces.

As the BSRs were closed, the drill pipe was positioned such that the outside corner of the
upper BSR blade contacted the drill pipe slightly off center of the drill pipe cross section.
A portion of the drill pipe was outside of the BSR shearing blade surfaces. As the BSRs
closed, this portion of the drill pipe cross became trapped between the ram block faces,
preventing the blocks from fully closing and sealing. The drill pipe most likely deflected
to the side of the well from the moment the well began flowing. Trapping of the dnil
pipe between the ram faces would have taken place regardless of which means initiated
BSR closure (AMF/Deadman or Autoshear).

Of the means available to close the BSRs, evidence indicates that trapping of the dnil
pipe occurred when the hydraulic plunger to the Autoshear valve was successfully cut on
the morning of April 22, 2010, initiating activation of the Autoshear circuit. Albeit on the
evidence available, closing of the BSRs through activation of the AMF/Deadman circuits
cannot be ruled out.

In the partially closed position, flow would have continued through the drill pipe trapped
between the ram block faces and subsequently through the gap between the ram blocks.
When the drill pipe was sheared on April 29, 2010, using the CSRs, the well flow pattern
changed to a new exit point through the open drill pipe at the CSRs expanded to flow up
the entire wellbore to the BSRs and through the gap along the entire length of the block
faces.

7.3 Discussion of Causes

7.3.1 Primary Cause

The BSRs failed to fully close and seal due to a portion of drill pipe trapped between the
blacks.

On closure of the BSRs, a portion of the drill pipe cross section was outside of the BSR
shearing surfaces. The portion of the drill pipe cross section outside the shear blade
surfaces became trapped between the ram block faces, preventing the blocks from fully
closing and sealing.

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7.3.2 Contributing Cause

The BSRs were not able to move the entire pipe cross section completely into the
shearing surfaces of the rams.

The drill pipe within the BOP stack was under a compressive load that elastically buckled
the pipe between the Upper VBRs and the Upper Annular. This elastic buckling condition
forced the drill pipe toward the sidewall of the wellbore and outside of the cutting blade
surfaces of the BSRs. When the ram blocks closed they were not able to overcome the
buckling forces holding the drill pipe against the sidewall of the wellbore. The blocks
could not reposition the entire circumference of the drill pipe to within the shearing
surfaces of the BSRs.

7.3.3 Contributing Cause

Drill pipe in process of shearing was deformed outside the shearing blade surfaces.

The portion of the drill pipe between the outside edge of the upper blade and wellbore
sidewall was not sheared. As the ram blocks closed, a portion of the drill pipe was
deformed (flattened) and trapped between the faces of the ram blocks preventing them
from closing and sealing.

7.3.4 Contributing Cause

The drill pipe elastically buckled within the wellbore due to formation forces on loss of
well control.

On loss of well control the drill pipe downhole of the Upper Annular was subjected to
vertical forces from the flow of well fluids. These forces would have caused the drill pipe
to move vertically upwards unless it was constrained.

7.3.5 Contributing Cause

The position of the tool joint at or below the closed UA prevented upward movement of
the drill pipe.

The location of the tool joint pushing up against, or partially pushed into the Upper
Annular element prevented the drill pipe from moving upwards in the BOP stack. This
created a fixed point impeding further upward movement of the drill pipe.

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7.3.6 Contributing Cause
The Upper VBRs were closed and sealed on the drill pipe

After the upper VBRs were closed, the drill pipe was centered at two locations within the
BOP stack (at the Upper Annular and upper VBRs). In addition, with the upper VBRs
closed, the drill pipe was then fixed at the Upper Annular (both horizontally and
vertically) while being horizontally constrained at the upper VBRs but able to move
vertically. The physical conditions and constraints were then in place to provide for the
elastic buckling. Further the BSRs were vertically located at a position nearly midway
between the Upper Annular and VBRs, coinciding with the center of the bow in the drill

pipe.

7.3.7 Contributing Cause
Uncontrolled flow from downhole of the Upper VBRs

Forces from the flow of the well downhole of the VBRs induced a buckling condition on
the portion of drill pipe between the fixed point (vertical) of the Upper Annular and
Upper VBRs (horizontal constraint). The drill pipe bowed until it contacted the sidewall
of the wellbore just above the BSRs.

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8 RECOMMENDATIONS

8.1 Recommendations for Industry

The primary cause of failure was identified as the BSRs failing to close completely and
seal the well due to a portion of drill pipe becoming trapped between the ram blocks. The
position of the drill pipe between the Upper Annular and the upper VBRs led to buckling
and bowing of the drill pipe within the wellbore. Once buckling occurred the BSRs
would not have been able to completely close and seal the well. The buckling most likely
occurred on loss of well control.

The recommendations are based on conclusions from the primary and contributing causes
or on observations that arose during the course of DNV’s investigations.

8.1.1 Study of Elastic Buckling

The elastic buckling of the drill pipe was a direct factor that prevented the BSRs from
closing and sealing the well.

It is recommended the industry examine and study the potential conditions that could
arise in the event of the Joss of well control and the effects those conditions would have
on the state of any tubulars that might be present in the wellbore. These studies should
examine the following:

¢ The effects of the flow of the well fluids on BOP components and various tubulars
that might be present

e The effects that could arise from the tubulars being fixed or constrained within the
components of a Blowout Preventer

¢ The ability of the Blowout Preventer components to complete their intended design or
function under these conditions

The findings of these studies should be considered and addressed in the design of future
Blowout Preventers and the need for modifying current Blowout Preventers.

8.1.2 Study of the Shear Blade Surfaces of Shear Rams

The inability of the BSRs to shear the off-center drill pipe contributed to the BSRs being
unable to close and seal the well.

It is recommended the industry examine and study the ability of the shear rams to
complete their intended function of completely cutting tubulars regardless of their
position within the wellbore, and sealing the well. The findings of these studies should be

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considered and addressed in the design of future Blowout Preventers and the need for
modifying current Blowout Preventers to address these findings.

8.1.3. Study of Well Control Procedures or Practices

The timing and sequence of closing of the UA and upper VBRs contributed to the drill
pipe segment buckling and bowing between the two moving the drill pipe off center.

It is recommended the industry examine and study the potential effects or results that
undertaking certain well control activities (e.g. closing of the annulars, or closing of the
VBRs) could have on the BOP Stack. Examination and study should identify conditions,
which could adversely affect the ability to regain control of the well (e.g. elastic buckling
of tubulars). Industry practices, procedures and training should be reviewed and revised,
as necessary, to address the prevention of these conditions.

8.1.4 Status of the Back-Up Control Systems

The BOP functionality testing indicated some back-up control system components did not
perform as intended.

It is recommended the industry review and revise as necessary the practices, procedures
and/or requirements for periodic testing and verification of the back-up control systems
of a Blowout Preventer to assure they will function throughout the entire period of time
the unit is required on a well.

8.1.5 Common Mode Failure of Back-Up Control Systems

The BOP functionality testing indicated not all back-up control systems had built in
redundancy.

It is recommended the industry review and revise as necessary the practices, procedures
and/or requirements for evaluating the vulnerability of the back-up control systems of a
Blowout Preventer to assure they are not subject to an event or sequence of events that
lead to common mode failure.

8.1.6 Study the Indication of Functions in an Emergency

The ROV intervention efforts reviewed indicated the ROVs were not capable of directly
and rapidly determining the status of various ROV components.

It is recommended the industry examine and revise the current requirements for providing
a means to verify the operation, state or position of various components of Blowout
Preventers in the event of an emergency. The industry should require that it is possible to
confirm positively the state or position of certain components such as the rams, annulars

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and choke and kill valves either with the use of Remotely Operated Vehicles or by other
means.

8.1.7 Study of the Effectiveness of Remotely Operated Vehicle
Interventions

The ROV intervention efforts reviewed indicated initial ROV efforts were not capable of
performing key intervention functions at a level equivalent to the primary control
systems.

It is recommended the industry examine and study the conditions and equipment
necessary for Remotely Operated Vehicles to perform various functions (e.g. the BSRs)
at a performance level equivalent to the primary contro! systems. Make adequate
provision to mobilize such equipment in the event of a well control emergency.

8.1.8 Stipulating Requirements for Back-Up Control System
Performance

A review of industry standards indicated they do not stipulate performance requirements
for back-up systems (e.g. closing response times) as they do for primary control systems.

It is recommended the industry review and revise the requirements for back-up control
system performance to be equivalent to the requirements stipulated for primary control
systems.

8.2 Recommendations for Further Testing

DNV’s forensic examinations and testing were organized and conducted around the top
event of the failure of the Blind Shear Rams to close and seal the well.

The recovery and examination of the eight segments of drill pipe and the five sets of rams
shifted the focus from the question of whether the blind shear rams were activated to that
of identifying the factors that would have caused or contributed to the blind shear rams
failing to seal the well. As described in this report, DNV is of the view that the primary
cause for the blind shear rams failing to close arose from conditions that led to the drill
pipe being forced to one side of the wellbore at a position immediately above the Blind
Shear Rams. DNV has investigated the conditions that could lead to such a buckling
scenario developing. However, even here DNV recognizes there are additional studies
and tests that could be undertaken to examine this scenario further.

In addition, DNV has identified a number of areas or issues associated with the overall
performance of the BOP Stack that should be examined, investigated or tested further. As
a result, DNV puts forward the following recommendations.

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8.2.1 Additional Studies of Conditions Leading to Elastic Buckling

¢ Supplement the Finite Element Analysis buckling model with a Computational Fluid
Dynamic simulation of the flow through the drill pipe.

¢ Run the Finite Element Analysis drill pipe-cutting model to include the buckling
stresses that would have existed in the drill pipe.

e Field test the blind shear rams shearing a section of off-centered (buckled) 5-1/2 inch
drill pipe.

e Field test the ability of a closed annular to restrain the upward movement of a 5-1/2
inch drill pipe tool joint at the forces calculated for buckling.

¢ Field test the conditions required to push a 5-1/2 inch tool-joint through a closed
annular element.

8.2.2 Additional Tests or Studies of the Performance of the Blowout
Preventer Stack

e It is suggested that the static pressure tests undertaken at Michoud on the high-
pressure shear hydraulic circuits of the lower section of the BOP be supplemented
with additional tests of the circuits of the Casing Shear Rams and the Variable Bore
Rams.
¢ The tests at Michoud performed on the high-pressure blind shear close solenoid
removed from the Yellow Pod in May 2010 gave inconsistent results. It is suggested
this solenoid be further tested and possibly disassembled to discern the reason for its
performance and whether it was likely to have functioned at the time of the incident.
« On pressuring the high-pressure shear ram circuit, the high-pressure casing shear
regulator leaked. It is suggested the high-pressure casing shear regulator be further
tested and disassembled to try and discern its state at the time of the incident.
e Itis suggested that the behavior of the elastomeric elements of the rams and annulars
be tested to assess their performance when exposed to well fluids at the temperatures
that existed at the time of the blowout.
« The tests of the Subsea Electronic Modules (SEMs) undertaken at Michoud should be
supplemented by removing the SEMs from the Control Pods, venting and then
opening the SEMs to understand better their possible state at the time of the incident.
The following tests or activities are suggested:
® Collect and analyze samples of the SEMs gas/atmosphere prior to or as part of
venting the SEMs

e Remove the batteries and record part numbers, serial numbers, date of
manufacture and any other pertinent manufacturing data

« Inplace of the batteries connect a voltage generator and conduct a series of tests
on the AMF/Deadman circuits at various voltages and record the results

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e The lower and upper annulars are well control components of the BOP stack. As a
result the following tests or examinations of the lower and upper annulars are
suggested:

e Laser scanning of the upper annular in-situ and “as-is” condition

Remove and examine the upper and lower annular elements

Static pressure tests of the annular operating systems . .

Function testing of the open and close operating systems of both the upper and

lower annulars

¢ The evidence from eyewitnesses was that the Emergency Disconnect Sequence was
activated approximately seven minutes after the first explosion. It is suggested the
hydraulic circuits and functioning of the LMRP HC collet connector and the choke
and kill collet connectors be tested as a means to try and assess their state at the time
of the incident.

e It is suggested the wellbore pressure-temperature sensor at the base of the lower
section of the BOP be removed and its accuracy checked or tested.

e Itis suggested the industry perform field tests on the ability of the BSRs to shear and
seal a section of 5-1/2 inch drill pipe under internal flow conditions that existed at the
time of the incident.

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